     Case 1:20-cv-03590-JEB           Document 410-1         Filed 02/25/25       Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  FEDERAL TRADE COMMISSION,

                  Plaintiff,
                                                         Case No.: 1:20-cv-03590-JEB
             v.

  META PLATFORMS, INC.,

                  Defendant.


           [PROPOSED] ORDER ON CONFIDENTIALITY PROCEDURES

      Upon consideration of the Parties’ Position Statements regarding confidentiality

procedures, it is hereby ORDERED that:

      A.     Types of Trial Confidentiality Treatment At Trial

             1.        The parties shall use two levels of at-trial confidential treatment:

                       a.      “Partial Nondisclosure”: meaning that the witness and court may
                               see an unredacted version of the document, but a redacted version
                               of the document is shown on public-facing screens, and the
                               questioner/witness may not reveal the confidential portions of the
                               document in questioning and testimony.

                       b.      “Complete Nondisclosure”: meaning the entire document should
                               remain sealed from the public record and the courtroom is closed
                               when the document is discussed.

      B.     Party Documents and Testimony

             1.        Meta-Produced Documents On Final Exhibit Lists

                       a.      Briefing For Representative Sample of Documents

                               •   March 5, 2025: Meta shall identify to the FTC its proposed
                                   redactions and/or confidentiality positions on a set of no more
                                   than 50 exemplar Meta documents that it believes will include
                                   some recurring categories of confidentiality issues in Meta-
                                   produced documents on the parties’ exhibit lists.




                                                 1
Case 1:20-cv-03590-JEB    Document 410-1        Filed 02/25/25      Page 2 of 5




                  •   March 7, 2025: The FTC shall provide Meta its positions on
                      on each document within the sample.

                  •   March 10, 2025: If the parties cannot resolve all
                      disagreements over Meta’s proposed redactions, Meta shall file
                      a brief with the Court seeking confidential treatment (and
                      rulings) for the set of disputed exemplar documents.

                  •   March 12, 2025: Anyone interested in filing an opposition to
                      Meta’s motion shall do so by this date.

                  •   March 14, 2025: Meta shall file any reply in support of
                      Meta’s motion by this date.

            b.    Resolution For Remaining Documents

                  •   March 31, 2025 (or 14 days after the Court’s ruling on
                      Meta’s motion, whichever is later): Meta, using the Court’s
                      rulings on the representative motion as guidance, shall identify
                      to the FTC its proposed redactions for each Meta-produced
                      document on either side’s final exhibit list.

                  •   April 7, 2025 (or 7 days after Meta’s disclosure of its
                      confidentiality positions, whichever is later): The FTC shall
                      provide Meta with its position as to confidentiality for every
                      Meta-produced document on either side’s exhibit list over
                      which Meta has asserted confidentiality—identifying with
                      specificity the basis for any dispute over Meta’s proposed
                      confidentiality treatment and/or redactions for each document
                      over which the FTC disagrees.

                  •   During Trial: The parties shall work in good faith to resolve
                      all outstanding confidentiality issues, using as guidance the
                      Court’s rulings on Meta’s motion regarding exemplar
                      documents. To the extent disagreements over a particular
                      exhibit’s confidentiality remain outstanding by four days
                      before the exhibit’s anticipated use, then:

                      •   The parties must meet and confer over confidentiality of,
                          and redactions to, the exhibit; and

                      •   If the parties cannot resolve a dispute over an exhibit’s
                          confidentiality, the party seeking to use the exhibit must
                          either (i) raise the dispute with the Court by two days
                          before the exhibit’s anticipated use; or (ii) afford the




                                    2
Case 1:20-cv-03590-JEB   Document 410-1          Filed 02/25/25       Page 3 of 5




                          document Partial Nondisclosure or Complete
                          Nondisclosure treatment (as designated by Meta).

       2.   Other Meta-Produced Exhibits

            a.    To the extent the FTC plans to use a Meta-produced document
                  previously marked Confidential or Highly Confidential under the
                  Protective Order that is not on either party’s final exhibit list, the
                  FTC must either:

                  •   inform Meta 48 hours in advance of its intent to use the
                      document, to allow Meta time to review and assess
                      confidentiality for the document; or

                  •   alternatively, provide no notice but afford the document and
                      related testimony Complete Nondisclosure treatment during the
                      portion of the examination when the document is discussed,
                      absent a Court order to the contrary.

            b.    Meta shall designate an outside attorney (or outside attorneys)
                  walled off from the outside-counsel trial team to perform
                  confidentiality review for this category of documents in
                  consultation with Meta’s in-house counsel. However, to the extent
                  a dispute over such documents is not resolved 24 hours before a
                  document’s anticipated use, the walled off outside attorneys may
                  inform the outside-counsel trial team of the dispute—so that the
                  outside-counsel trial team may raise the issue with the Court as
                  necessary.

            c.    Nothing in this provision prohibits the walled off attorney from
                  receiving or sharing with the outside-counsel trial team other
                  information relating to the case.

       3.   Meta Testimony, Transcripts, and Designated Video Depositions

            a.    By March 31, Meta shall identify to the FTC all confidentiality
                  assertions and proposed redactions for deposition and
                  investigational-hearing transcripts for Meta witnesses designated
                  as “will call” witnesses on either side’s final witness list.

            b.    For Meta witnesses listed as “may call” on either party’s final
                  witness list, the FTC must provide Meta eight days’ notice before
                  the witness’s potential testimony to assess confidentiality of that
                  witness’s transcript(s).

            c.    The parties shall meet and confer in good faith to reach agreement
                  on the confidential nature of information discussed in all such



                                     3
Case 1:20-cv-03590-JEB      Document 410-1         Filed 02/25/25       Page 4 of 5




                    transcripts and other confidential topics that might be the subject of
                    examination.

             d.     If disputes over the confidential nature of a witness’s transcript or
                    other topics of anticipated testimony remain unresolved two days
                    prior to the witness’s anticipated examination date, or the
                    anticipated date on which a party expects to play a witness’s
                    deposition video, the party seeking to elicit or offer the testimony
                    shall raise the issue with the Court.

             e.     The parties must work together in good faith to group testimony in
                    such a manner as to reduce the number of times the courtroom
                    must be closed.

 C.    Nonparty Documents and Testimony

       1.    By March 13, each party shall:

             a.     Provide notice to nonparties of any nonparty documents that the
                    nonparty designated Confidential or Highly Confidential appearing
                    on the respective party’s final exhibit list.

             b.     Provide notice to each nonparty of any of that nonparty’s witnesses
                    who appear on either party’s final witness list (including both live
                    witnesses or witnesses designated to testify via deposition).

       2.    Absent agreement between Meta, the FTC, and the nonparty over
             confidentiality of the documents or testimony at issue, by March 31, any
             nonparty:

             a.     Seeking to assert confidentiality over any of its produced
                    documents, or portions of them, shall file a motion with the Court
                    seeking such treatment.

             b.     With a “will call” witness on a party’s final witness list shall file a
                    motion seeking confidential treatment of any portions of that
                    witness’s deposition transcript.

       3.    For any “may call” nonparty witness on a party’s final witness list, the
             nonparty shall be given eight days’ notice before the witness’s potential
             examination to assess the confidentiality of the witness’s deposition
             transcript. Both parties and the nonparty shall in good faith attempt to
             reach agreement on the confidentiality of such witness’s deposition
             transcript prior to the witness’s testimony at trial (either live or, to the
             extent allowed, by deposition). If a dispute cannot be resolved prior to the
             witness’s testimony, the nonparty shall raise it with the Court.




                                       4
    Case 1:20-cv-03590-JEB     Document 410-1         Filed 02/25/25     Page 5 of 5




     D.    Meta In-House Lawyer

           1.    The in-house counsel for Meta who already has access to Confidential and
                 Highly Confidential Information under the Protective Order may remain in
                 the courtroom during portions of testimony requiring courtroom closure.

           2.    This in-house counsel need not take any additional steps to have access to
                 such information at trial. This in-house counsel shall remain bound by the
                 procedures and obligations imposed by the Protective Order.

     E.    Preparation of Exhibits

           1.    To the extent redactions to any document or exhibit are necessary, the
                 producing party or nonparty shall be responsible for preparing versions of
                 exhibits that may be used publicly.

           2.    Nothing in this provision, or in this Trial Confidentiality Order, shall be
                 construed as permitting a document previously marked Confidential or
                 Highly Confidential under the Protective Order to be publicly disclosed by
                 a party or nonparty other than the party or nonparty claiming
                 confidentiality before the document has been admitted into evidence and
                 used in open court with appropriate redactions.

           3.    Any such other public disclosure—besides when a producing party or
                 nonparty discloses its own information—shall be governed by another
                 order to be entered at a later date.

IT IS SO ORDERED.

DATED: ___________________
                                              Honorable James E. Boasberg
                                              United States District Court Chief Judge




                                          5
